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2    SEV EN TH FLOOR CAM ELBAC K ESPLANAD E II
     2525 EA ST CAM ELBACK ROAD
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     PHOENIX, ARIZONA 85016
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     Attorneys for Movant
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9    17-02871

10                             IN THE UNITED STATES BANKRUPTCY COURT

11                                     FOR THE DISTRICT OF ARIZONA

12

13   IN RE:                                                               No. 2:17-bk-07858-MCW

14   Nicholas Ross Hale and Amy Lines Hale                                         Chapter 7

15
                  Debtors.
     _________________________________________                      MOVANT’S MOTION TO LIFT
16
     CitiMortgage, Inc.                                         THE AUTOMATIC BANKRUPTCY STAY
17
                     Movant,
18            vs.
                                                                        RE: Real Property Located at
19   Nicholas Ross Hale and Amy Lines Hale, Debtors;                        976 S Wanda Drive
     Eric M. Haley, Trustee.                                              Gilbert, AZ 85296-3960
20

21                   Respondents.

22

23            Movant hereby requests an order granting relief from the automatic stay of 11 U.S.C. 362(a), to
24   permit Movant to foreclose the lien of its Deed of Trust on real property owned by Debtors by trustee’s sale,
25   judicial foreclosure proceedings or the exercise of the power of sale, and to obtain possession and control of
26   the real property.




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1           This motion is supported by the attached Memorandum of Points and Authorities, which is
2    incorporated herein by this reference.
3           DATED this 16th day of August, 2017.
4                                                   Respectfully submitted,
5                                                   TIFFANY & BOSCO, P.A.
6
                                                    BY /s/ LJM # 014228                   .
7
                                                           Mark S. Bosco
8                                                          Leonard J. McDonald
                                                           Attorney for Movant
9

10                          MEMORANDUM OF POINTS AND AUTHORITIES

11          Nicholas Ross Hale and Amy Lines Hale filed a voluntary petition for protection under Chapter 7 of

12   the Bankruptcy Code. Eric M. Haley was appointed trustee of the bankruptcy estate. Debtors have an

13   interest in that certain real property located in Maricopa County, AZ, more particularly described as:

14          Lot 27, Cottonwoods Crossings, Unit 1, according to Book 382 of Maps, Page 48, records of
            Maricopa County, Arizona.
15
            Debtors executed a Note secured by a Deed of Trust, dated February 8, 2013, recorded in the office
16
     of the Maricopa County Recorder’s Office. True copies of the Note and Deed of Trust are annexed as
17
     Exhibits "A" and "B", respectively, and made a part hereof by this reference. Further, Movant is the assignee
18
     of the Deed of Trust. The assignment of record is annexed as Exhibit “C”.
19
            As of August 9, 2017, Debtors are in default on the obligations to Movant for which the property is
20
     security and payments are due under the Promissory Note from and after February 1, 2017.
21
            Movant is informed and believes and therefore alleges that the Movant and the bankruptcy estate are
22
     not adequately protected based upon the Debtors failure to make payments on a timely basis.
23
            Pursuant to Debtors' Statement of Intentions the Debtors intend on surrendering the title and
24
     possession interest in the subject property. A true and correct copy of the Debtors' Statement of Intention is
25
     attached hereto as Exhibit “D”.
26
            As of August 9, 2017, Debtors are indebted to CitiMortgage, Inc. for the principal balance in the




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1    amount of $120,333.23, plus accruing interest, costs, and attorney’s fees.
2           Furthermore, Movant seeks relief for the purpose of foreclosing its Deed of Trust against the
3
     Debtors' interest in the real property located at 976 S Wanda Drive, Gilbert, AZ 85296-3960.
4
                                                   CONCLUSION
5
            Movant requests that the court enter an order vacating the automatic stay of 11 U.S.C. Section 362(a)
6
     as to the debtors, the bankruptcy estate, the property, and Movant; to allow Movant to foreclose the lien of
7
     its Deed of Trust or Mortgage; to evict Debtors and/or successors of Debtors; and to obtain ownership,
8
     possession and control of the Property.
9
            Movant further requests that any order for relief granted in this case remain in effect in any
10
     bankruptcy chapter to which the debtors may convert.
11

12
            DATED this 16th day of August, 2017.
13

14                                                 TIFFANY & BOSCO, P.A.

15

16                                                 BY /s/ LJM # 014228                .
                                                          Mark S. Bosco
17                                                        Leonard J. McDonald
                                                          Seventh Floor Camelback Esplanade II
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                                                          2525 East Camelback Road
19                                                        Phoenix, Arizona 85016
                                                          Attorneys for Movant
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